Case 3:16-md-02738-MAS-RLS Document 32974 Filed 07/16/24 Page 1 of 3 PageID: 189285




    Susan M. Sharko                                                             Faegre Drinker Biddle & Reath LLP
    Partner                                                                     600 Campus Drive
    susan.sharko@faegredrinker.com                                              Florham Park, New Jersey 07932
    +1 973 549 7350 direct                                                      +1 973 549 7000 main
                                                                                +1 973 360 9831 fax




    July 16, 2024

    Honorable Michael A. Shipp, U.S.D.J.
    United States District Court
    Clarkson S. Fisher Building & US Courthouse
    402 East State Street
    Trenton, NJ 08608

    Honorable Rukhsanah L. Singh, U.S.M.J.
    United States District Court
    Clarkson S. Fisher Building & US Courthouse
    402 East State Street
    Trenton, NJ 08608



    Re:       Johnson & Johnson Talcum Powder Products, Marketing, Sales Practices and Products
              Liability Litigation
              Case No.: 3:16-md-02738-MAS-RLS

    Dear Judge Shipp and Judge Singh:

            As we finalize our R. 702 motions it has become increasingly clear that it would be
    premature to file dispositive motions at the same time for three basic reasons: First, Defendants’
    objection to the PSC’s motion to add one or more new defendants at this late stage is pending.
    Second, in light of the substantial, case-defining issues that will be addressed in the forthcoming
    Rule 702 motions, it is not yet settled what causes of action under the Master Long Form
    Complaint remain. Finally, neither the Court nor the Defendants know what substantive law will
    apply because we do not yet know which of the six bellwether plaintiffs (who are from six different
    states) will be the subject of the first trial.

           On behalf of Defendants, I therefore write to request a continuance of the current briefing
    deadlines pertaining to dispositive motions under the Court’s April 30, 2024, Scheduling Order
    (Dkt. No. 32123) notwithstanding n.1 of the Order which states the Court “will not entertain any
    requests for an extension of the current briefing dates”. To be clear, we do not seek any extension
    on the deadline for filing of R. 702 motions, which we are prepared to file next week. Rather, we
    are simply seeking a reasonable extension of briefing on additional, dispositive motions—some
    of which may be obviated by the disposition of Defendants’ R. 702 motions. In short, deferring
    the deadline for dispositive motions would foster the orderly and efficient administration of this
    MDL proceeding.

           First, the pleadings for all six bellwether cases remain—to a significant degree—in flux.
    On January 10, 2024, Special Master Order No. 17 (Dkt. No. 28902) granted the Plaintiffs’ Motion
    for Leave to File Second Amended Master Long Form Complaint, adding new corporate
    defendants and new causes of action. Defendants timely filed their objection to the Special
Case 3:16-md-02738-MAS-RLS Document 32974 Filed 07/16/24 Page 2 of 3 PageID: 189286



    Hon. Michael A. Shipp, U.S.D.J.                 -2-                                    July 16, 2024
    and Hon. Rukhsanah L. Singh,
    U.S.M.J.

    Master’s ruling on January 24, 2024 (Dkt. No. 28922), and the briefing on that objection was
    closed with Defendants’ filing of a reply on February 13, 2024 (Dkt. No. 29033). Defendants’
    objection to Special Master Order No. 17 remains pending, leaving the parties uncertain as
    to several issues, most importantly which defendants are included in the cases to which
    the April 30, 2024 Scheduling Order (Dkt. No. 32123) applies. This uncertainty is highly
    consequential—as the Court may recall, one of Defendants’ primary responses to Plaintiffs’
    eleventh hour effort to add new defendants is that these new defendants cannot possibly have
    any liability under the applicable law governing corporate transfers. See generally Dkt. No. 28922.
    As a result, if these defendants are included in the bellwether cases, Defendants’ dispositive
    motions must include arguments about vicarious liability and corporate transfers that would have
    no place if the new defendants are not in the cases. It would be far more efficient and prudent to
    brief these arguments after the Court resolves Defendants’ pending objection to Special Master
    Order No. 17.

            Second, an extension of dispositive motion deadlines would effectuate the Court’s goal of
    resolving general causation before considering summary judgment. All of the cases now pending
    in this MDL—including the bellwether pool from which one case will be selected for trial later this
    year—require expert evidence in order to support causation in a products liability case. See, e.g.,
    In re Mirena IUS Levonorgestrel-Related Prod. Liab. Litig. (No. II), 982 F.3d 113, 124 (2d Cir.
    2020) (noting that “all fifty states ‘require some evidence of general causation in products liability
    cases involving complex products liability (or medical) issues.’”). Accordingly, Judge Wolfson
    contemplated resolving any challenges to Plaintiffs’ general causation expert testimony before
    turning to dispositive motion practice in this MDL. See August 6, 2018 Order (Dkt. No. 6966,
    focusing on discovery into and Daubert motions regarding general causation experts); April 27,
    2020 Opinion at 2-3 (Dkt. No. 13186, resolving general-causation Daubert motions and directing
    the parties to meet and confer on any remaining issues not resolved by the Opinion); May 15,
    2020 Order (Dkt. No. 13317, imposing process for selecting and working up bellwether cases);
    June 1, 2021 Order (Dkt. No. 22100, imposing schedule for Daubert and dispositive motions in
    Stage Three bellwether cases). And, Your Honor has repeatedly made clear that the prior
    Daubert ruling should be revisited in light of new science and recent amendments to Rule 702.
    (Dkt. No. 30260; Dkt. No. 32122.). Thus, continuing the dispositive motion briefing deadlines
    would restore the long-contemplated order of issues in this MDL and allow the Court to address
    Defendants’ challenges to expert evidence of causation before turning to dispositive motions.

            Third, under the current scheduling order, the Plaintiffs are not required to identify which
    of the six bellwether cases will be selected for trial until August 5, 2024—nearly two weeks after
    the July 23, 2024 deadline for dispositive motions. See Dkt. No. 32123 at ¶¶ 8, 11. Thus, the
    current briefing schedule requires Defendants to present their case-specific arguments under the
    laws of six different states for all six cases that could potentially be selected when only one will
    actually be tried. This result was not contemplated in the parties’ proposals on a pretrial
    scheduling order (Dkt. Nos. 26872-4 [Plaintiffs’ proposal] and 26876-1 [Defendants’ proposal]),
    which specified no deadline for identification of a trial case as the parties disagreed on how soon
    that designation should be made. Nor was it contemplated by the Court’s scheduling orders of
    October 10, 2023 (Dkt. No. 28516) or February 9, 2024 (Dkt. No. 29024), which collectively
    required Plaintiffs to propose a trial case “75 days before the date of the first trial”—a date that
    was unknown until the Court announced it in the April 30, 2024 Scheduling Order (see Dkt. No.
    32123). By continuing the deadline for dispositive motions, the Court would enable Defendants
    to streamline their dispositive motions to include only those arguments that are relevant to the
    case that is selected for trial, eliminating at least ten different motions.
Case 3:16-md-02738-MAS-RLS Document 32974 Filed 07/16/24 Page 3 of 3 PageID: 189287



    Hon. Michael A. Shipp, U.S.D.J.               -3-                                   July 16, 2024
    and Hon. Rukhsanah L. Singh,
    U.S.M.J.

          For all of these reasons, Defendants respectfully request that the Court modify the briefing
    schedule imposed by the April 30, 2024 Scheduling Order (Dkt. No. 32123) as follows:

           x   (Unchanged) Daubert motions due July 23, 2024

           x   (Unchanged) Oppositions to Daubert motions due August 22, 2024

           x   (Unchanged) No replies permitted for Daubert motions

           x   (New) Dispositive motions due thirty (30) days after the Court rules on the R. 702
               motions and the appeal of the Special Master’s ruling on the proposed Second
               Amended Master Long Form Complaint, whichever ruling comes later.

           x   (Unchanged) Trial commences December 3, 2024

           Thank you for your consideration of these matters.

    Respectfully submitted,




    Susan M. Sharko
    FAEGRE DRINKER BIDDLE & REATH LLP


    SMS/emf

    cc:    All Counsel (via ECF)
